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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

United States of America,

       Plaintiff/Respondent,

v.                                            Criminal Case No. 15-20487

Jabron Thomas,                                Sean F. Cox
                                              United States District Court Judge
      Defendant/Petitioner.
______________________________/

                       ORDER DENYING MOTION FOR COUNSEL

       In this criminal action, a jury convicted Defendant Jabron Thomas of one count of armed

bank robbery, one count of using a firearm in relation to a crime of violence, and one count of being

a felon-in-possession of a firearm. (ECF No. 65). On May 11, 2019, the Court sentenced Defendant

to a total term of imprisonment of 180 months. (ECF No. 90). Defendant filed a direct appeal.

       On appeal, the United States Court of Appeals for the Sixth Circuit vacated Defendant’s

felon-in-possession conviction, finding that there was insufficient evidence to support that charge.

(ECF No. 97). On remand, this Court re-sentenced Defendant to a total term of imprisonment of 162

months. (ECF No. 105).

       Thereafter, Defendant filed a motion seeking to vacate his conviction pursuant to 28 U.S.C.

§ 2255. This Court denied that motion in an Opinion and Order issued on November 19, 2019, and

declined to issue a certificate of appealability. (ECF No. 116).

       On August 20, 2020, Defendant filed a pro se motion asking this Court to appoint counsel

for him, asserting that needs the assistance of counsel to explore other means of challenging his

convictions. (ECF No. 119). The Government filed a response in opposition to this motion on

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November 17, 2020. (ECF No. 121).

       Defendant has no constitutional right to the assistance of counsel in bringing a collateral

challenge to his convictions. Pennsylvania v. Finley, 481 U.S. 551, 555 (1987). The “right to

appointed counsel extends to the first appeal of right, and no further.” Id. Nevertheless, this Court

has the discretion to appoint counsel if the circumstances warrant it.

       Having reviewed Defendant’s motion, and the Government’s response brief in opposition

to it, the Court concludes that the appointment of counsel is not warranted. As such, the Court

ORDERS that Defendant’s motion for appointment of counsel is DENIED.

       IT IS SO ORDERED.

                                              s/Sean F. Cox
                                              Sean F. Cox
                                              United States District Judge


Dated: January 11, 2021




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